                                                 EXHIBIT J

Case: 20-04021   Doc# 13   Filed: 03/04/20   Entered: 05/01/20 16:29:24   Page 1 of 14
 (GC68150).




 record




 court




 official




 the


 is
                                                 SUPERIOR COURT OF CALIFORNIA

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                                                          COUNTY OF MERCED
               10
 This
                    DAN YOON,                                       )     Case No. 17CV-00630
               11                                                   )
                                             Plamﬂff’
                                                                    )     STATEMENT 0F DECISION
               12            V.                                     )

                                                                    )
               13   K.S. AVIATION," INC.‘; JOHN YOON;
                                                                    )
                    CHEN ZHAO aka ERIC ZHAO; XING                   )
               14   KONG AVIATION SERVICE LLC, and                  )
                    DOES     1'
                                  to 20,
                                                                    )
               15
                                             Defendant.
               16                                                   3
                    KS AVIATION, INC.; JOHN YOON,                   )
               17                                                   )
                                             Cross-Complainants,
                                                                    )
               18            V.                                     )


               19   DAN YOON; and ROES 1 through 50,                )

                                                                    )
                    inclusive,
               20                                                   )

                                             Cross-Defendants       )

               21                                                   )



               22                                                ISSUES

               23            The enforceability of the September 2, 201 6 Settlement Agreement between John Yoon

               24   (John) ﬁnd Dan Yoon (Dan) requires adjudication of the following issues:

               25       1.   Was Dan’s consent to the Settlement Agreement procured by fraud, duress, menace or

               26            undue inﬂuence?

              .27            Does the Agreement lack mutuality of obligations?

               28            What are John and Dan’s respective obligations under the Agreement?
                                                                    -1-

                                                        STATEMENT OF DECISION
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                                           DAN YOON Filed: 03/04/20 INC.,
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                                                                          et al. CASE      16:29:24
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                                  Did Dan breach the Agreement?
(GC68150).




                                  Is John entitled to speciﬁc performance?
                         $.03"?




                                  Did John and KS Aviation Inc. (KS) breach the agreement in a'material respect?
record




                                  Is the Agreement unconscionable?

court
                                                                 APPLICABLE LAW
                                  Consent to a contract must be freely given. Cal. Civil Code § 1565. Consent obtained by
official




                   duress, fraud or undue inﬂuence is not freely given Cal. Civil Code § 1568. Duress. requires
the


is                 commission of a wrongful act or threat to pressure a party to consent t0 the contract. The party

                   pressured must be so afraid 0r intimidated by the wrongful act or wrongful threat that he did not
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             10    have the free will         to refuse to consent to the contract and the consenting party would not have
This



             1.1   consented to the contract without the wrongful act or threat. Cal. Civil Code § 1567, 1568.              An

             12    agreement obtained by threat of criminal prosecution constitutes menaée and is unenforceable.

             13    Bayscene Resident Negotiators v. Bayscene Mobilehome Park (1993) 15 Cal App 4th 119,127.

             14    However, the other contracting party cannot sustain an action for duress when the voluntary action

             15    of the party is induced by his speculation upon or anticipation of a future event suggested t0 him.

             16    Goldstein v. Ench (1967) 248 Cal App 2d 891, 894-895.                Undue inﬂuence consists of a person

             17    holding a position of trust or conﬁdence pressuring a party to consent to a contract that the

             18    pressured party would not have otherwise consented.              Undue inﬂuence overcomes freely given

             19    consent by grossly oppressive and unfair advantage of another’s distress. Cal. Civil Code § 1575.

             20    Actual fraud fequires suggestion of an untrue fact, known to be untrue to persuade a party to agree

             21    to the contract and the relying party reasonably relied on the false representation and would not


             22    have entered into the contract had they known the truth. Cal. Civil Code § 1572.

             23                   A contract is subj ect to Speciﬁc performance after a breach if the plaintiff establishes each
             24    of the following:

                         '1.
             25                   Inadequacy of the legal remedy;

             26           2.      The underlying contract is both reasonable and supported by adequate consideration;

             27           3.      The existence of a mutuality of [obligations];

             28    ///

                                                                           _2_

                                                           STATEMENT OF DECISION
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                              4.   The contract terms are sufﬁciently deﬁnite to enable the Court to know what it isrto
(GC68150).




                                   enforce; and


                              5.   A substantial similarity of the requested performance to that promised in the contract.
record
                  ‘




                      Tamarind Lithography Workshop Inc. v. Sanders (1983) 143 Cal.App. 3d 571, 575; Henderson

court
                      v.   Fisher (1965) 236 Cal.App. 2d 468, 473; Real Estate Analytics,           LLC v. Vallas (2008) 160
                      Cal.App. 4th 463, 472.
official




                                   Contracts for the transfer of stock in a closed corporation have long been held to be subj ect
the


is                    to   speciﬁc performance.         Senter v. Davis (1869) 38 Cal. 450; Treasurer v. Commercial Coal

                      Mining C0. (1863) 23 Cal. 390.            Speciﬁc performance to transfer corporate stock in a closed
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             10       corporation will be ordered ifthe stock has no market or ascertainable value. Krouse v. Woodwork
This



             11       (1895) 110 Cal. 638.

             12                    California Civil Code section 3386 provides:

             13                       “Notwithstanding that the agreed counter-performance is» not or would not have been
                                       speciﬁcally enforceable, speciﬁc performance may be compelled if:
             14

                                        (a)   Speciﬁc performance would otherwise be an appropriate remedy; and
             15
                                        (b)   The agreed counter performance has been substantially performed or its
             16                               concurrent or future performance is assured or, if the court deems necessary, can
                                              be secured to the satisfaction of the court.”
             17
                       DAN’S CONSENT TO ENTERING INTO THE SETTLEMENT AGREEMENT WAS
             18
                      NOT PROCURED BY FRAUD, DURESS, OR UNDUE INFLUENCE. DAN’S CONSENT
             19              TO THE AGREEMENT WAS FREELY AND ICVOWINGLY GIVEN.
             20                    Dan contends the following facts negate his consent to the contract: Attorney Kim’s

             21       Violation of the        Canons of Ethics in communicating directly with Dan to seftle the disputes

             22       between Dan and John without Dan’s attorney’s present. John’s representations that if he and

             23       Dan settled their respective claims against each other, that he would report the changes to the

             24       District Attorney to get the        DA to cooperate. John would try to get the KS employees to drop
             25       their legal claims against Dan.         Attorney Kim allegedly threatened that Without their help Dan

             26       was going to jail.

             27       / / /


             28       / / /


                                                                              -3-

                                                                STATEMENT OF DECISION
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                           At the time 0fthe settlement agreement, Dan was facing four felony counts of forgery and
(GC68150).




                  falsiﬁcation of corporate documents.     Trial was set to commence 0n September 13, 2016.       In


                  addition, KS Aviation did not have sufﬁcient funds t0 meet payroll.    KS Aviation was delinquent
record




                  in its rent, and accounts payable.   Sierra Development Company had defaulted on the simulator

court
                  loans.   Under these circumstances, Dan wantéd the criminal case resolved without a felony

                  conviction and/Or the risk of substantial jail time.   Dan had personal and ﬁnancial incentives to
official




                  enter into the settlement agreement.
the


is                         Dan was not a credible witness. With respect to the criminal charges, Dan testiﬁed he did

                  not forge 0r falsify any documents. The facts belie his testimony. The forged documents beneﬁtad
  e-copy




             10   Dan and no one else. One ofthe documents allocated ownership in Sierra Development Company
This



             11   65% t0 Dan, thereby giving him control of the business.         A KS Board of Directors Meeting
             12   Minutes authorized a million—dollar bonus to Dan. One of the documents contained John’s the

             13   personal history, which Was necessary to obtain the SBA simulator loan. Dan was negotiating and

             14   submitting all the paper work for the loan.   Another document was a Secretary of State Statement

             15   of Information listing the corporate ofﬁcers. The evidence presented at the preliminary hearing

             16   in the criminal case was that all of the signatures on the documents in question were forged.

             17   John’s signatUre was not the only forgery. Two other individuals told the     DA investigator that
             18   their signatures on the Corporate Minutes were not theirs and that they never attended the alleged


             19   Board of Directors meeting.      The only one to beneﬁt from these documents was Dan, both

             20   ﬁnancially and to establish management and control 0f the business. Whether he personally

             21   forged the signatures, conspired t0, or aided and abetted the creation and forged documents is

             22   immaterial. Cal. Civil Code § 1565

             23            Dan testiﬁed that attorney Kim approached him at a funeral to negotiate a settlement. Dan

             24   testiﬁed that attorney Kim instructed him not to discuss the proposed settlement with his lawyer.

             25   In contrast, attorney Kim testiﬁed that Dan came to his ofﬁce without an appointment to discuss

             26   the case. Kim told him he could not talk to him Without his attdrney present.     Dan told Kim he

             27   had already discussed it with his attorney and had agreed that Dan could talk directly With Kim.

             28   Kim testiﬁed that Dan seemed desperate to settle the matter.       At the time, Dan was primarily

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                                                     STATEMENT OF DECISION
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                  concerned abbut the forthcoming criminal trial. In addition, Dan did not want to contribute any
(GC68150).




                  additional funds to KS.      KS lacked sufﬁcient funds to meet payroll. His wife was ill due to the
                  stress.    Dan was facing or threatened with at least four lawsuits by KS employees for sexual
record




                  harassment, hostile workplace, and/or battery.

court
                             Dan testiﬁed that he believed that the Settlement Agreement only required that he do

                  whatever was necessary to withdraw from all management and control of KS but that he was not
official




                  required to transfer his KS stock.    The agreement is clear that Dan was to relinquish and transfer
the


is                all of his shares to KS.



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                             On September 20, 2016, Dan swore under penalty of perjury that he was not a KS
             10   shareholder.      Yet, to date asserts he is a shareholder and has tried to force the calling of a
This



             11   shareholder meeting.

             12              Although Dan i's Korean and speaks with an accent, he has years of experience with

             13   complicated business matters.      He has operated a restaurant with numerous employees for many

             14   years.     He negotiated leases, real estaté purchases, multi-million dollar loans and a contract fOr a

             15   ﬁve million d'ollar simulator. He has hired and used attorneys and CPA’s for numerous business

             16   entities    including corporations and limited liability companies.        He owned and managed

             17   companies With 3O or more employees.         He reads and understands Englishi

             18              Dan’s management of KS Aviation evidenced a “controlling” personality.              He was

             19   frustrated with the fact that a settlement With John had not been reached. Settlement negotiations


             20   began in April, 201 6. And by the end of August, 201 6 no settlement was apparent. Dan initiated

             21   the contact with attorney Kim.      Dan chose not to involve his attorney.    In fact, on September 6,


             22   Dan told his attorney that he had settled with John and instructed attorney Lawrence to dismiss

             23   his lawsuit against John.      Attorney Lawrence asked to see the settlement agreement, however,

             24   Dan decided not to give him a copy until days or two weeks later. Nothing prevented Dan from

             25   properly forwarding a copy of the agreement to attorney Lawrence.            It   was Dan’s decision to

             26   delay informing Lawrence of the settlement agreement.         Dan wanted the terms of the setﬂement

             27   agreement executed properly because 0f the pending criminal trial. Even though attorney Kim

             28   ///

                                                                      -5-

                                                       STATEMENT OF DECISION
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                  violated the Canons of Ethics by having contact with Dan, it was Dan’s decision not to involve
(GC68150).




                  his attorney.    Dan acted freely and voluntarily.

                          The eyidence does not support duress based upon alleged threats of criminal process. The
record




                  felony charges pending against Dan had substantial merit. Dan’s denial of criminal culpability

                  lacks credibility. Dan, in fact, received the beneﬁt of John’s cooperation in connection With the
court




official
                  criminal case.    The fact that Dan had a written settlement agreement with John settling all of their

                  disputes provided Dan with necessary information to induce the             DA to reduce and settle the
the


is                criminal charges.      John was the party aggrieved by Dan’s alleged criminal conduct.             The

                  aggrieved party was satisﬁed With the settlement. The criminal trial was continued and the case
  e-copy




             10   settled in April, 2017 With the four felony charges reduced to misdemeanors.        Dan was sentenced
This




             11   to probation with no jail time.     In addition, he was allowed to enter a plea of “No Contest in
                                                                             I




             12   Abstentia.”

             13           Dan argued that his attorney had no input into the settlement agreement. The testimony

             14   of Lance Lippincott and the e—mail exchange does not support this position.        On the Friday before

             15   the settlement agreement was signed, Lippincott had forwarded an e-mail with proposed revisions

             16   to the settlement agreement.      Attorney Kim incorporated Lippincott’s revisions into the ﬁnal

             17   settlement agreement.      The evidence supports ﬁndings that attorney Lawrence’s ofﬁce did have

             18   input into the ﬁnal settlement agreement.

             19           In addition, Dan testiﬁed that over the years he contributed millions of dollars t0 KS and

             20   made no withdrawals until 2013-2014 when KS Aviation turned proﬁtable. Dan testiﬁed he only

             21   recgived 10 months of $25,000.00 per month salary.             He denied receiving any payments on the

             22   loans he made to the corporation. In contrast, Josh McDaniel testiﬁed that KS had a CPA do a

             23   forensic accounting, which showed that Dan had used over $4 million of KS funds for personal

             24   use. The corpOrate minutes containing the forged signatures authorized a $1 million payment to


             25   Dan.

             26           Based on all the abOVC, the evidence does not support Dan’s contention that he was

             27   fraudulently induced to enter into the settlement agreement. Attorney Kim’s misconduct did not

             28   nullify Dan’s free will to enter into the settlement agreement.          The fact that Dan was feeling
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                  economic duress and personal family stresses were legitimate reasons for him to agree to the
(GC68150).




                  settlement. Dan acted on his own to get an expeditious settlement of the disputes With John and


                  have a written agreement documenting the settlement. Having the executed agreement provided
record




                  negotiating leverage with the      DA in the criminal case. Nor does the evidence support a ﬁnding
court
                  that Dan’s free will was overcome by duress or undue inﬂuence.        The fact that he did not want to

                  have to contribute any more money to KS, that the only chance he had of obtaining any money
official




                  from KS was if John could ﬁnd a new investor, that Dan felt stressed because KS employees were
the


is                ﬁling claims for his alleged mistreatment and that he had concerns for his wife’s health were all

                  legitimate reasons to freely enter into the agreement.
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             1o              THERE IS MUTUALITY OF OBLIGATION IN THE AGREEMENT
This



             11          In the instant case, Dan agreed to the following:

             12                  “Dan agrees he shall Withdraw from all daily affairs 0f the KS Aviation, Inc. or
                                 executive duties and responsibilities as a Senior executive or as a member 0f the board
             13                  of directors of KS Aviation Inc. including Sierra Academy of Aeronautics. Therefore,
                                 effective on the date indicated above, Dan shall submit his resignation as CFO of KS
             14
                                 Aviation Inc. and any and all other positions, as well as his membership on the board
             15                  of directors.”

                                 “Dan agrees to relinquish all his shares of stock in KS Aviation Inc., return all his
             16
                                 shares to the corporation, and agrees to return any and all company property, including
             17                  vehicles, computers, telephones, software, keys, company credit cards, and any and
                                 all airport security passes.”
             18


             19          Dan agreed to give up his ownership and management in KS. John would be the maj ority

             20   shareholder and have full management and control of the business.         Dan further agreed that the

             21   simulator belonged to KS.

             22          Dan agreed to dismiss his pending lawsuits against John and KS within 5 days.

             23          Dan agreed to have no further contact with John, his family, or any KS employees,

             24   contractors, consultants, or other individuals doing business With KS.


             25          Dan agreed not to enter into any business related to training of pilots for four years.

             26          John and KS agreed to do the following:

             27             1.     Relinquish all interest in Sierra Air Center Development, LLC and EB5 programs

             28                    to Dan.

                                                                     -7-

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                            2.   Repay all legally documénted KS loans made by Dan as determined by a neutral
(GC68150).




                                 CPA when:
                                     a.   KS has paid all past due debts as of 9/2/16;
record




                                 I
                                     b.   KS has resolved all judgments against it as of 9/2/16;
court
                                     c.   KS has sufﬁcient operating capital to meet operating requirements including
                                          updating the aircraft ﬂeet and maintenance operations.
official




                            3.   In addition to the loan payments, KS would ﬁay to Dan’s family in 12-1 8 months a
                                                                                                             h

the


is                               sum to be determined and contingent upon the following:

                                     a.   The company showing a continuing trend toWard growth and proﬁtability;
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             10                      b.   The Board of Directors determining the amount or
This



             11                      c.   if a   new investor purchased equity in KS, the investor would determine the

             12                           amount to be paid;

             13                      d.   Payments would be made annually and based on company proﬁtability to be

             14                           determined by an outside neutral certiﬁed public accountant;

             15             4.   KS assumed liability for the simulator loans and agreed t0 make the loan payments.
             16                  If the loans became delinquent and the creditors sought enforcement against Dan,


             17                  John and KS agreed 1:0 indemnify Dan for any liability he may face on those loans.

             18             5.   John and KS agreed to dismiss all lawsuits against Dan within 7 days.

             19           John and Dan agreed to a comprehensive mutual release of all claims ofany kind or nature,

             20    known or unknown, actual or potential they may have against each other. The release was so

             21    broad that it would bind KS as well since John was the controlling shareholder and ofﬁcer. Each

             22    party agreed to a California Civil Code 1542 waiver.

             23’          Dan argues that the promise to repay his corporate loans and future payments from proﬁts

             24    are illusory because they were conditioned upon events the parties knew would never occur, the

             25    provisions are too vague for a Court to enforce and the promise of future payments from proﬁts

             26    was entirely discretionary. The promise to repay Dan’s corporate loans was conditioned upon

             27    establishing the validity 0f the loans by a neutral CPA. This condition is enforceable should Dan

             28    contend that some ofhis loans were wrongfully denied by the CPA. Whether the ﬁnancial records

                                                                       -   8 _

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                  documented the loans in accordance with acceptable accounting practices is something a Court
(GC68150).




                  could resolve, if needed.    Payment 0f all KS’s “past due” debts and judgments as of 9/2/16 is

                  also an issue that could be adjudicated by the court should Dan believe John and KS were not
record




                  acting reasonably or in good faith.      Dan testiﬁed that KS had $3 million in receivables and $2
court
                  million in debts as of 9/2/1 6.   KS disputed Dan’s testimony. In addition, the settlement envisioned
                  John locating a new investor.
official




                          The Agreement does not contain a true “integration” clause.          Extraneous evidence is
the


is                considered to determine the intent of the parties.        The intent of the parties was primarily as

                  follows:
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             10           John wanted Dan to terminate his management, control, and ownership in KS and agree
This



             11   that KS owned the simulator.


             12           Dan wanted a written agreement providing for the settlement of all of John’s and KS’s

             13   claims of Dan’s alleged wrongful acts to be used to help Dan in the pending criminal case.      Any

             14   prior suggestions for help were problematic as they either could be used to show encouragement


             15   of subordination ofperjury or obstruction ofjustice. Dan wanted a means to collect the loan notes

             16   he contended KS owed.         Dan wanted Sierra Air Center Development and the EBS program

             17   entities.   Dan did not want to have to contribute any more moneys t0 pay KS’s obligations. Dan

             18   wanted to be indemniﬁed for any liability on the simulator loan and resultant judgments.

             19           Both Dan and John wanted to resolve all claims, known and unknown they had against
                                                                                                      \




             20   each other except for the above matters.

             21           Dan did not have a reasonable expectation that he would receive future KS payments in

             22   approximately 18 months should KS become past debt fee, proﬁtable and growing. In September,

             23   201 6, KS was insolvent, or close to it. The company’s future was dependent upon locating a new

             24   investor.   No prospects were apparent on 9/2/16. Financial survival was questionable. John was
             25   able to convince Chen Xhao,         CEO of Xing Kong to purchase KS in May, 2017.         Xing Kong

             26   advanced millions to continue the business operations. The 10W expectation that John or his family

             27   would receive any future payments is further evidenced by the fact both John and Dan agreed that

             28   making any future payments was within the discretion of the KS Board of Directors and/or the
                                                                      -9-

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                  new investor. Dan could challenge the denial of any payments only if he could prove that all KS
(GC68150).




                  debts and'judgments had been paid, the company was proﬁtable and growing and that the board

                  and/or the investor acted in bad faith.
record



                            Dan argues that Sierra Air Development and the EBS program were valueless because
court
                  Sierra had nozassets and there is nothing to transfer under the EB5 program.           Dan had managed

                  Sierra Air Development and the EBS program for years.             If he thought he could use this entity
official




                  and program t0 his beneﬁt, he bore the risk.          The agreement speciﬁcally provided that the
the


is                simulator would belong t0 KS, not Sierra Air Development.

                            Dan got the beneﬁt of dismissal of the lawsuits against him. KS settled the employee
  e-copy




             1o   claims.   The claims all arose out of alleged Dan’s alleged misconduct.
This



             11             John and KS are liable to indemnify Dan against any sums he is forced to pay 0n the

             12   simulator loans and resulting judgments. This remains to be resolved. This is a matter of money

             13   damages. The issues of performance and/or excused performance due to Dan’s breach in falling

             14   to transfer his   KS stock, alleged failure to cooperate with completing Bank of the West
             15   documents, etc. are all issues yet to be tried.

             16             One ofthe most valuable considerations Dan received was the general release ofall known

             17   and unknown claims that John and KS had against Dan as of 9/2/1 6. The release bars any claims

             1s   for alleged misappropriation of KS funds for personal use.        It bars   any offset claims KS may have

             19   against KS’s and John’s obligation to indemnify Dan for any moneys he ends up paying to Bank

             20   of the West 0n the simulator loan judgment.       It bars   any offset claims KS may have against valid

             21   unpaid loans Dan made to KS. KS is still entitled to credits for payments it made on the loans,

             22   but not for non—loan payments amounting to misappropriation of corporate funds for personal use.

             23   KS and John may have other defenses to the indemnity action and/or loan collection complaint
             24   based on facts occurring after the 9/2/1 6 agreement. Those issues remain to be adjudicated under

             25   Dan’s complaint in the current action.

             26             Based on all the above, there was mutuality of obligations set forth in the agreement.

             27   / / /



             28   ///

                                                                     -10_

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                               THE SETTLEMENT AGREEMENT IS NOT UNCONSCIONABLE
(GC68150).




                          Dan is an experienced and sophisticated businessman. He and John were equals as far as

                  bargaining poﬂsitions. Both were experienced in hiring and using attorneys and CPAs. The fact
record




                  that Dan chose to represent himself in ﬁnalizing the settlement agreement and that John was

court
                  represented by attorney Kim did not shift the balance of bargaining positions to the point that that

                  Dan had n0 bargaining power. He could have followed his son’s advice and not signed the
official




                  agreement.    He chose to enter into the agreement.        The terms of the agreement are not
the


is
                  unconscionable.    Dan received most of the consideration he sought through and under the

                  agreement.
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             10   AN UNJUST RESULT WOULD OCCUR IF DAN IS NOT REQUIRED TO TRANSFER
This
                   HIS KS STOCK AS HE HAS RECEIVED SUBSTANTIAL BENEFIT UNDER THE
             11
                                             AGREEMENT
             12           The agreement clearly helped to settle the criminal charges. Dan did not have to contribute
             13   more operatiﬁg capital to KS to cover payroll, unpaid taxes, employee’s claims, operating
             14   expenses etc. KS settled the employee claims. Dan is seeking rescission reliefwithout éomplying

             15   with   Cal. Civil Code § 1691   which requires each party to the contract to restore to the other

             16
                  everything of value received under the contract. He has not and cannot restore the beneﬁts he

             17   received with and under the contract.

             18
                         KS AND JOHN ARE ENTITLED TO SPECIFIC PERFORMANCE OF THE
             19                                             CONTRACT
             20           The value of the KS stock at the time of the breach cannot be determined. Any value Was

             21   contingent upon Xing Kong Willing to purchase KS.          Xing Kong agreed to purchase KS on

             22   condition that John transfer    100% of KS.     John and Dan are the controlling shareholders.

             23   Although there are a few minority shareholders, Chen Xhao, (Xing Kong’s owner) made it clear

             24   he would not purchase KS if Dan was a shareholder or in any way involved With the business.

             25   John needs Dan’s stock or KS will lose its investor. Determination of money damages due to

             26   Dan’s breach is difﬁcult if not impossible to determine.

             27   // /

             28   ///
                                                                  -11-

                                               STATEMENT 0F DECISION
                  Case: 20-04021 DAN
                                  Doc# 13 v.Filed:
                                     YOON          03/04/20 INC.,
                                             K.S. AVIATION,   Entered:     05/01/20
                                                                  et a1. CASE       16:29:24
                                                                              #17CV-00630                 Page 12 of
                                                          14
                      ALTHOUGH KS AND JOHN HAVE NOT FULLY PERFORMED ALL THEIR
(GC68150).
                   OBLIGATIONS UNDER THE CONTRACT, THESE UNFULLFILLED OBLIGATIONS
                          ARE CAPABLE 0F BEING SATISFIED BY MONEY DAMAGES.
                             Dan argues that John and KS have not paid his loans nor have they indemniﬁed him for
record




                   the Bank ofthe Westjudgment.       The loans are in dispute and need to be adjudicated in accordance

                                                                                  law of indemnity, Whether Dan is entitled
court

                   with the terms ofthe agreement.      It is unclear under the


                   to some fOrm of compensation with respect to the Bank of the West judgment.                 In addition, KS
official




                   did take some action towards the loan assumption but Dan did not complete any of the paper
the


is                 work. Realistically, Bank of the West was unlikely to release any guarantor from liability on the


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                   simulator loan.    The law is capable 0f fully compensating Dan for both ofthesc alleged breaches,

             10    if in fact, John and/or   KS breached the contract. Therefore, these issues do not bar John and KS
This



             11    from speciﬁcally enforcing the contract requiring Dan to transfer his KS stock. Cal. Civil Code

             12
                   § 3392.

             13,                                                 DECISION
             14              The Settlemerit Agreement dated September 2, 2016 is enforceable. Dan’s motion to

             15    compel a KS shareholder meeting is denied. Dan breached the agreement by failing to transfer

             16*
                   his stock to KS.    John and KS are entitled to speciﬁc performance of the agreement under their

             17    cross—complaint.    Dan is ordered to transfer all of his KS stock to KS forthwith. The court retains
             18    jurisdiction under CCP section 664.6 to enforce this portion of the judgment to be entered herein.

             19              The issues of costs and attorneys fees are deferre       i1 after adj   udication oft e complaint.

             20     DATED: October 15, 2019
             21
                                                                                      (m ﬁQ& (Q                          m,-
                                                                                 RONALD W. HANSEN
             22                                                              ‘

                                                                                 Assigned Judge of the Superior Court

             23

             24

             25

             26

             27

             28

                                                                      -12-

                                                STATEMENT OF DECISION
                   Case: 20-04021 DAN
                                   Doc# 13 v.Filed:
                                      YOON          03/04/20 INC.,
                                              K.S. AVIATION,   Entered:     05/01/20
                                                                   et al. CASE       16:29:24
                                                                               #17CV-00630                         Page 13 of
                                                           14
                                              PROOF OF SERVICE BY MAIL
                                                    (1013a, 2015.5 C.C.P)
(GC68150).




record
               STATE OF CALIFORNIA                       )

                                                         )

court          COUNTY OF MERCED                          )              Case No. 17CV-00630


official
                        I   am a citizen of the United States and a resident of the county aforesaid; I am
               over the age of eighteen years and not a party to the within entitled action; my business
               address is-Merced County Superior Court, 627            West 21st Street, Merced, California
the

               95340.
is



  e-copy
                        On October 15, 2019, I served the Within STATEMENT OF DECISION on the
               person(s) named below by placing a true copy thereof in an envelope and then placing in

This
               the Merced County Superior Court/Clerk's outgoing mail addressed as follows:


                   Cyril Lawrence, Esq.                                  Michael L. Abbot, Esq.
                   2111 “K” Street                                       126 S. Third Avenue
                   Merced, CA 95340                                      Oakdale, CA 95361



                        I declare   under penalty of perjury under the laws of the State of California that the
               foregoing is true and correct.


                        Executed on October 15, 2019, at Merced, California.




                                                                      MM)
                                                                        ClauﬁN. Juérez, Declarant




             Case: 20-04021         Doc# 13     Filed: 03/04/20 Entered: 05/01/20 16:29:24            Page 14 of
                                                              14
